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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                    )     No. 19-18467
                                          )
AMERICAN PAIN SOCIETY,                    )     Chapter 7
                                          )
                        Debtor.           )     Honorable Deborah Thorne
                                          )
                                          )     Hearing Date: November 7, 2019
                                          )     Hearing Time: 9:30 a.m.
                                          )     Room No.:     613


                                      NOTICE OF MOTION


TO:      See attached Service List.

       On November 7, 2019 at 9:30 a.m., or as soon thereafter as counsel may be heard, I shall
appear before Judge Deborah Thorne in Courtroom 613, Dirksen Federal Courthouse, 219 S.
Dearborn, Chicago, Illinois, and shall then and there present the attached TRUSTEE’S
MOTION FOR APPROVAL OF AUCTION SALE, APPROVAL OF BID PROCEDURES
AND SCHEDULING OF FINAL HEARING, a copy of which is attached.

Dated: October 31, 2019

                                              Respectfully Submitted,

                                              MICHAEL K. DESMOND, not individually but
                                              solely in his capacity as Chapter 7 Trustee for
                                              the bankruptcy estate of AMERICAN PAIN
                                              SOCIETY,

                                              By:    /s/ Michael K. Desmond____
                                                     One of his Attorneys


Michael K. Desmond (#6208809)
Justin M. Herzog (#6324047)
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In re:                                     )     No. 19-18467
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AMERICAN PAIN SOCIETY,                     )     Chapter 7
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                       Debtor.             )     Honorable Deborah Thorne
                                           )
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  TRUSTEE’S MOTION FOR APPROVAL OF AUCTION SALE, APPROVAL OF BID
           PROCEDURES AND SCHEDULING OF FINAL HEARING

         Michael K. Desmond, not individually but solely in his capacity as Chapter 7 Trustee

(“Trustee”) of the bankruptcy estate of American Pain Society (“the Debtor”), by his attorneys

and pursuant to 11 U.S.C. 363 and Rules 2002 and 6004 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), moves this Court for entry of an order approving an auction

sale the Estate’s right title and interest in The Journal of Pain (“Motion”), approving bid

procedures and scheduling a final hearing on the Auction Sale. In support of this Motion, the

Trustee respectfully states as follows:

                                          JURISDICTION

         1.     This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

and 1334. Venue is proper in this district pursuant to 28 U.S.C. § 1408.

         2.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

         3.     The statutory predicates for the relief requested in this Motion are 11 U.S.C. §363

and Bankruptcy Rules 2002 and 6004.
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                                         BACKGROUND

        4.     On June 28, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) in the U.S.

Bankruptcy Court for the Northern District of Illinois, Eastern Division (the “Bankruptcy

Court”), thereby commencing the above-entitled case and creating the Debtor’s estate (the

“Estate”).

        5.     The Trustee was appointed as the chapter 7 trustee of the Estate on the Petition

Date.

        6.     Prior to the Petition Date, the Debtor operated a professional membership

organization and served as a national chapter of the International Association for the Study of

Pain. Disciplines represented include medicine, dentistry, psychology, nursing, physical therapy,

pharmacy, basic science, government, law, business and industry.

        7.     The Debtor holds the copyright and trademark rights to widely circulated monthly

medical research journal known as “The Journal of Pain”, which provides a platform in which

clinical researchers, basic scientists, clinicians, and other healthcare professionals can publish

original research regarding patient care, education, and health policy. The rights to The Journal

of Pain represent a significant asset to the Estate.

        8.     On September 7, 2017, the Debtor entered into a five-year Journal Publishing

Agreement with Elsevier, Inc., which runs through December 31, 2022 (“Publishing

Agreement”). In exchange for granting Elsevier a license to publish The Journal of Pain, the

Debtor receives annual minimum guaranteed royalties of $250,000.00, a fixed annual editorial

stipend and the Debtor received an upfront signing bonus of $500,000.00. In exchange, the

Debtor pays Elsevier a monthly member subscription fee and the Debtor pays a monthly stipend



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to the Editorial Staff.     On or about July 22, 2019, Elsevier served notice on the Trustee that it

was terminating the Publishing Agreement effective September 1, 2019, and demanded a return

of a pro-rata share of the signing bonus in the amount of $300,000.00, paid to the Debtor

pursuant to Section 6.12 of the Publishing Agreement. The Trustee disputed Elsevier’s right to

terminate the Publishing Agreement and the Estate’s obligation to refund any portion of the

signing bonus.

       9.        Since the Petition Date, Elsevier has continued to publish the Journal of Pain for

the months of July, August, and September but has demanded that the Trustee assume the

Publishing Agreement and pay all cure costs due Elsevier.

       10.       On October 29, 2019, the Bankruptcy Court approved a Settlement Agreement

between the Trustee and Elsevier, wherein Elsevier has agreed to continue to publish The

Journal of Pain through and including December 31, 2019.

       11.       By this Motion, the Trustee seeks the entry of an order approving an Auction Sale

of The Journal of Pain, approving the following Bid Procedures for the Auction Sale, and

scheduling a final hearing on the Auction Sale.

                                        BID PROCEDURES

       12.       Assets to be sold:    The Trustee is offering for sale the Estate’s right, title and

interest in The Journal of Pain, and any associated copyright and trademark rights to The Journal

of Pain held by the Estate (“Purchased Assets”).

       13.       Excluded Assets:      All other assets of the Estate are specifically excluded.

Additionally, the Trustee does not intend, and is not offering, to assume and assign the rights to

the Publishing Agreement with Elsevier in connection with the sale of The Journal of Pain.




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       14.        Deadline for Bid Submissions. Bids shall be due on or before December 9, 2019

at 5:00 p.m. (Central Time) (the “Bid Deadline”).

       15.        Required Submissions for Bidding.      In order to submit a bid, each person or

entity (“Potential Bidder”) must deliver to the Trustee via overnight mail or courier to Michael

K. Desmond, Figliulo & Silverman, P.C., 10 S. LaSalle St., Suite 3600, Chicago, IL 60603 the

following on or before the bid deadline:

             a.      An executed Purchase Agreement (hard copy and electronic Microsoft Word

                     document ) for the purchase of The Journal of Pain, with such Purchase

                     Agreement substantially in the form attached hereto as Exhibit 1, and an

                     electronic markup of the Potential Bidder’s Purchase Agreement showing any

                     and all amendments and modifications from the form of Purchase Agreement,

                     including, but not limited to, purchase price and contact information of the

                     Potential Bidder;

             b.      the Potential Bidder’s Purchase Agreement provides that the Potential Bidder

                     is prepared to Consummate the transaction contemplated by the Purchase

                     Agreement no later than the Closing Date;

             c.      the Potential Bidder’s deposit in the form of a cashier’s check, or otherwise

                     immediately available funds in the amount of 10.0% of the Purchase Price

                     (“Good Faith Deposit”) set forth in the Purchase Agreement payable to the

                     Trustee, to be submitted along with the bid (funds to be delivered to Trustee);

             d.      written evidence satisfactory to the Trustee of the Potential Bidder’s authority

                     or approval of the contemplated transaction and an affirmative statement that

                     no other consents are required;



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             e.       financial statements (or other financial information acceptable to the Trustee

                      in his sole and absolute discretion) showing that the Potential Bidder has the

                      financial ability to close on the Purchased Assets by the Closing Date;

             f.       a signed statement indicating that the Purchase Agreement is irrevocable

                      until (i) the Auction has taken place and the Potential Bidder is not approved

                      as the Successful Bidder or Back-up Bidder whether due to the Potential

                      Bidder being not selected by the Trustee in his sole discretion or for any

                      other reason whatsoever, in which case the Potential Bidder’s Good Faith

                      Deposit will be refunded unless otherwise forfeited pursuant to paragraph 21

                      below; or (ii) one business day following the closing of the Sale, in the event

                      the Potential Bidder is selected as the Successful Bidder or Back-up Bidder,

                      in which case, the Potential Bidder’s Good Faith Deposit shall not be

                      refunded until the Potential Bidder or another bidder has consummated the

                      transaction;

             g.       a signed statement acknowledging the prohibition against collusive bidding;

             h.       The Trustee will not consider any offer that requires payment of a

                      Termination Fee or other “stalking horse” protections or requires due

                      diligence or financing contingencies of any kind.

       16.        Determination of Qualified Bids. A bid that complies with and is accompanied

by the information set forth in Paragraph 15 above, as determined in the sole discretion of the

Trustee, will be deemed a “Qualified Bid.” A “Qualified Bidder” is a Potential Bidder that

submits a Qualified Bid and, in the Trustee’s sole discretion is determined to demonstrate the




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financial capability to consummate the purchase of the Purchased Assets that is the subject of its

Qualified Bid.

       17.       Impact of Bid Rejection. If the Trustee determines that a Potential Bidder is not

a Qualified Bidder, the Trustee shall return the Potential Bidder’s Good Faith Deposit to the

Potential Bidder promptly upon such determination. At the Auction, only Qualified Bidders who

have submitted Qualified Bids for the Purchased Assets shall have the right to bid on the

Purchased Assets. If no Qualified Bids are submitted to the Trustee prior to the Bid Deadline,

the Auction shall be canceled.

       18.       Timing and Location of Auction. The Auction shall be conducted on December

12, 2019 (the “Auction Date”) at 11:00 a.m. CDT. The Auction will be held at the offices of

Figliulo & Silverman, P.C., 10 S. LaSalle St., Suite 3600, Chicago, Illinois 60603, or such other

location designed by Trustee in advance of the Bid Deadline. In addition to the Trustee and his

counsel and other advisors, one representative from each of the Qualified Bidders that submitted

a Qualified Bid, along with their respective professionals and advisors, will be permitted to

attend the Auction. In the event of a change in time or place of the Auction, the Trustee shall

take commercially reasonable efforts to notify all Qualified Bidders who have timely submitted

Qualified Bids on or before the Bid Deadline.

       19.       Bid Increments.    At the Auction, Qualified Bidders may increase their Qualified

Bids in minimum bid increments of $10,000.00.

       20.       Procedures for the Auction. The Auction shall be conducted in accordance with

commercially reasonable procedures as shall be established by Trustee and his legal counsel.

The Trustee reserves his right to modify the Auction procedures at any time in his sole and

absolute discretion.



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         21.    Determination of Successful Bid. Upon completion of the auction, the Trustee,

in his sole discretion shall select the Qualified Bid that will maximize the value of the Purchased

Assets and is in the best interest of the bankruptcy Estate (the “Successful Bid”). The Good

Faith Deposit, as the case may be, for any Qualified Bidder shall be non-refundable until the

Closing. If the party submitting the successful Bid (the “Successful Bidder”) fails to close the

sale (other than as a result of the Trustee’s breach), such party’s Good Faith Deposit hall be

retained by the Trustee as the Estate’s sole and exclusive damages resulting from such failure to

close.

         22.    Right to Select Back-Up Bidder(s). At the conclusion of the Auction, the Trustee

may designate a “Back-Up Bidder” or multiple Back-Up Bidders (each a “Back-Up Bidder”), if

necessary, provided that each Back-Up Bidder is willing to purchase the Purchased Assets for at

least the Back-Up Bidder’s last bid at the Auction. If, for any reason, the party that submits the

Successful Bid fails to consummate the purchase of the Purchased Assets:

           a.   the Back-Up Bidder designated by Trustee shall be deemed to have submitted the

                highest and best bid, and shall be deemed the Successful Bid, and the Successful

                Bidder; and

           b.   Trustee shall have the right to effectuate the sale of the Purchased Assets to the

                Back-Up Bidder as soon as is commercially reasonable. Such Back-Up Bidder’s

                Good Faith Deposit shall be held in escrow until the closing of the transaction

                with the Successful Bidder.

         23.    Termination Fee. The Trustee will not consider any offer that requires payment

of a Termination Fee, and will not agree to pay a Termination Fee.




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        24.     Bankruptcy Court Approval. The Auction Sale and the Trustee’s agreement sell

The Journal of Pain are expressly conditioned on approval of the by the United States

Bankruptcy Court for the Northern District of Illinois, presiding over the bankruptcy the case In

Re: American Pain Society Case No. 19-18467.

        25.     Final Hearing on Auction Sale A Final Hearing to approve the Auction sale will

be scheduled on the date set forth in the attached Notice. The form of Notice of Sale Hearing to

be sent to all creditors is attached hereto as Exhibit 2.

        26.     Closing of Sale. Upon approval by the Bankruptcy Court, closing of the purchase

and sale of the Purchased Assets to the Successful Bidder shall be on the Closing Date unless

otherwise agreed to by the parties. The Closing Date may be extended by written agreement of

the Trustee and the Successful Bidder.

                                      SALE INFORMATION

        27.     The Trustee is in the process of assembling a packet of information obtained from

the Debtor concerning The Journal of Pain (“Informational Packet”), which the Trustee will

make available to all Potential Bidders upon execution of a Non-Disclosure Agreement.            All

documents provided by the Trustee in the Informational Packet must be returned to the Trustee at

the conclusion of the Auction Sale.          The Trustee makes no representations or warranties

regarding the accuracy of the information contained in the Informational Packet and all Potential

Bidders are encouraged to perform their own due diligence in connection with the sale.

                                      RELIEF REQUESTED

        28.     Pursuant to 11 U.S.C. § 363(b), the Trustee respectfully requests the entry of an

order approving the auction sale of the Estate’s right title and interest in The Journal of Pain, and

any associated copyright and trademark rights to The Journal of Pain held by the Estate.



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        29.     Section 363(b)(1) of the Bankruptcy Code authorizes the Trustee to “use, sell, or

lease, other than in the ordinary course of business, property of the estate,” after notice and a

hearing. See 11 U.S.C. § 363(b)(1).

        30.     Courts generally approve sales outside of the ordinary course of business under

Section 363(b)(1) of the Bankruptcy Code whenever such a sale is in the best interests of the

estate. See In re Telesphere Communications, Inc., 179 B.R. 544, 552 (Bankr. N.D. Ill. 1994); In

re Apex Oil Co., 92 B.R. 847, 866 (Bankr. E.D. Mo. 1988). Ordinarily, this standard requires: (i)

an articulated business justification for the sale; and (ii) evidence that the sale occurred in good

faith. See In re Shary, 152 B.R. 724, 725 (Bankr. N.D. Ohio 1993) (citing In re Met-L-Wood

Corp., 861 F.2d 1012 (7th Cir. 1988), cert. denied, 490 U.S. 1006 (1989)); see also Fulton State

Bank v. Schipper (In re Schipper), 933 F.2d 513, 515 (7th Cir. 1991) (sale under § 363 involves

exercise of fiduciary duty and requires an “articulated business justification”).

        29.     The Trustee believes that the proposed Auction Sale of the Estate’s right, title and

interest in The Journal of Pain, and any associated copyright and trademark rights, set forth

above represents the best opportunity to maximize the value of these assets for the Estate. The

Trustee has reached this conclusion based on the exercise of his business judgment, after

consultation with his counsel. Accordingly, the Trustee respectfully submits that entry of the

proposed order authorizing an Auction Sale of The Journal of Pain, approving the Bid

Procedures for the Auction Sale, and scheduling a final hearing on the Auction Sale is in the best

interest of the Estate.

        31.     The Trustee submits that in his business judgment the proposed Auction Sale will

yield the highest and best price for The Journal of Pain, result in significant proceeds to the

Estate and is in the best interests of creditors.



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                                             NOTICE

        32.    The Trustee has provided 7-days’ notice of this Motion to the Debtor, all creditors

who have filed claims, the U.S. Trustee and all other ECF users who have requested notice in the

case.

        33.    In light of the issues involved, the benefit to the Estate, and the parties’ desire to

conduct an Auction Sale as soon as practicably possible, the Trustee believes that the length and

extent of such notice is appropriate under the circumstances and that any further notice be

shortened for cause shown pursuant to Fed. R. Bankr. P. 9006(c) and 9007.

        34.    The Trustee requests that this Court Approve the form of the attached Notice of

Auction Sale, Bidding Procedures And Final Sale Hearing (“Notice of Sale”).

        35.    Notice of Sale will be served on the Debtor, all creditors and parties in interest,

and those parties who have expressed an interest in purchasing the assets of the Debtor. In

addition, the Trustee intends to publish the Notice of Sale in the Wall Street Journal, the Chicago

Tribune and The Journal of Pain.

        WHEREFORE, Michael K. Desmond, Trustee, prays that this Court enter an order:

        A.     Approving the Auction Sale of the Estate’s right, title and interest in The Journal

               of Pain;

        B.     Approving the bid procedures proposed by the Trustee;

        C.     Approving the form of the proposed Notice of Auction Sale, Bidding Procedures

               And Final Sale Hearing;

        D.     Determining the notice given of the Motion to be sufficient; and

        E.     Granting such other and further relief as this Court deems just and fair.




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Dated: October 31, 2019

                                       Respectfully Submitted,

                                       MICHAEL K. DESMOND, not individually but
                                       solely in his capacity as Chapter 7 Trustee for
                                       the bankruptcy estate of AMERICAN PAIN
                                       SOCIETY,

                                       By:    /s/ Michael K. Desmond____
                                              One of his Attorneys


Michael K. Desmond (#6208809)
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                                 CERTIFICATE OF SERVICE

The undersigned attorney states that on October 31, 2019 a copy of the attached:

                                     NOTICE OF MOTION
                                            and

    TRUSTEE’S MOTION FOR APPROVAL AUCTION SALE, APPROVAL OF BID
           PROCEDURES AND SCHEDULING OF FINAL HEARING

was served on all parties listed below in accordance with Fed. R. Bankr. P. 2002, the General
Order on Electronic Case Filing and subject to the provisions of Fed. R. Civ. P. 5(b)(3), the
Notice of Electronic Filing that is issued through the court's Electronic Case Filing System will
constitute service under Fed. R. Civ. P. 5(b)(2)(D) and Fed. R. Crim. P. 49(b) as to all Filing
Users in a case assigned to the court's Electronic Case Filing System. Anyone listed below who
is not registered with the Bankruptcy Court CM/ECF system was served via U.S. Mail, postage
prepaid and deposited in the mailbox located at 10 S. LaSalle, Chicago, Illinois 60603.

                                               By:     /s/ Michael K. Desmond


Mailing Information for Case 19-18467
Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

      Steven B. Chaiken schaiken@ag-ltd.com
      Michael K Desmond mkd.trustee@fslegal.com, IL23@ecfcbis.com
      Justin M. Herzog       jherzog@fslegal.com
      Patrick S Layng USTPRegion11.ES.ECF@usdoj.gov
      Phillip Nelson phillip.nelson@hklaw.com
      Kimberly E. Rients Blair kimberly.blair@wilsonelser.com
      David W. Wirt          david.wirt@hklaw.com

Manual Notice List – Via 1st Class Mail

American Pain Society                                R.D. Burns
8735 West Higgins Road                               PO Box 7855
Suite 300                                            Huntington Beach, CA 92615
Chicago, IL 60631                                    (Claimant - No. 1)
(Debtor)




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